      Case 4:16-cv-01054 Document 19 Filed on 10/19/18 in TXSD Page 1 of 8
                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                    IN THE UNITED STATES DISTRICT COURT                        October 19, 2018
                     FOR THE SOUTHERN DISTRICT OF TEXAS                       David J. Bradley, Clerk
                              HOUSTON DIVISION



WALTER HINTON, JR.,                       §
TDCJ #1839405,                            §
                                          §
                   Petitioner,            §
                                          §
V.                                        §
                                          §              CIVIL ACTION NO. H-16-1054
LORIE DAVIS, Director,                    §
Texas Department of Criminal              §
Justice - Correctional                    §
Institutions Division,                    §
                                          §
                   Respondent.            §




                         MEMORANDUM OPINION AND ORDER



       State inmate Walter Hinton, Jr., has filed a Petition for a

Writ of Habeas Corpus By a Person in State Custody under 28 U.S.C.

§    2254   ("Petition")    (Docket Entry No.        1),       seeking relief from a

murder      conviction     entered   against       him    in    Harris   County      Cause

No. 1316867, which resulted in a life sentence.                   Pending before the

court is Respondent's Motion to Stay and Administratively Close the

Proceedings      or,     Alternatively,       to     Dismiss       the   Petition          as

Unexhausted ("Respondent's Motion")            (Docket Entry No. 18) .             Hinton

has not filed a response, and his time to do so has expired.                         After

considering all of the pleadings and the applicable law, this case

will be      dismissed without prejudice             for    the   reasons    explained

below.
       Case 4:16-cv-01054 Document 19 Filed on 10/19/18 in TXSD Page 2 of 8



                     I.      Background and Procedural History

        On    February 13,         2013,       Hinton was       convicted of         murder    in

Harris        County      cause    number        1316867        and   sentenced       to   life

imprisonment. 1           Hinton's conviction was affirmed on direct appeal

in an unpublished opinion.              See Hinton v. State, No. 14-13-00116-CR

    (Tex. App.- Houston [14th Dist.] April 17, 2014).                       The Texas Court

of Criminal Appeals refused his petition for discretionary review

on July 23,        2014. 2     Because Hinton did not file a petition for a

writ     of     certiorari     with    the      United States         Supreme    Court,       his

conviction became final 90 days later on October 21,                             2014.        See

SuP. CT. R. 13(a).            That date triggered the statute of limitations

on federal habeas corpus review, which expired one-year later on

October 21, 2015.             See 28   u.s.c.     §    2244 (d) (1) (A).

        Hinton filed an application for a writ of habeas corpus with

the     trial    court     on October 15,             2015,    seeking     relief     from his

conviction under Article               11.07      of     the    Texas    Code   of    Criminal

Procedure. 3       Under 28 U.S.C.         §   2244(d) (2), the time during which a

"properly filed"             application        for    state habeas        corpus    or other

collateral        review      is   pending      shall     not    be   counted    toward       the

limitations period.            Thus, the statute of limitations is presently

tolled while Hinton's state habeas application is pending.


1
    Petition, Docket Entry No. 1, p. 2.
2
    Id. at 3.
3
 Id. at 11; Motion For Stay of Proceedings,                           Docket Entry No.        3,
p. 3.

                                                -2-
   Case 4:16-cv-01054 Document 19 Filed on 10/19/18 in TXSD Page 3 of 8




     On April 8, 2016, Hinton executed the pending federal habeas

Petition under 28 U.S.C.   §   2254, raising eleven grounds for relief:

     1.   Hinton's right to due process was violated when the
          prosecutor knowingly presented false testimony at
          trial.

     2.   Hinton was denied "any assistance" by his appellate
          counsel for purposes of a motion for new trial.

     3.   The trial court failed to apply the law of self-
          defense to the facts or add a lesser-included
          offense to the jury charge.

     4.   The state presented "No Evidence at trial"              and
          failed to prove all essential elements of               the
          charged offense.

     5.   Hinton was denied effective assistance of counsel
          at trial when his attorney failed to request an
          instruction on "Causation" in the jury charge.

     6.   Hinton was denied effective assistance of counsel
          at trial when his attorney allowed the prosecutor
          to use "Privileged Testimony."

     7.   Hinton was denied effective assistance of counsel
          at trial when his attorney failed to suppress
          testimony from jailhouse informant Brandon Bridges.

     8.   Hinton was denied effective assistance of counsel
          when his attorney failed to interview "Moeshe
          sister's Boyfriend," whose testimony would have
          resulted in a different verdict.

     9.   Hinton was denied effective assistance of counsel
          at trial when his attorney failed to request an
          instruction on the lesser-included offense of
          aggravated assault in the jury charge.

    10.   Hinton was denied effective assistance of counsel
          during the punishment phase of the trial when his
          attorney failed to argue or present mitigating
          evidence of manslaughter.


                                    -3-
       Case 4:16-cv-01054 Document 19 Filed on 10/19/18 in TXSD Page 4 of 8



        11.    Hinton was denied effective assistance of counsel
               at trial when his attorney failed to subpoena
               Terrell Robinson as a material witness. 4

At Hinton's request the court stayed this federal habeas proceeding

on April 20, 2016, while Hinton pursued his state court remedies. 5

The court did not, however, administratively close the case.

        On March 7, 2018, the court issued an Order directing Hinton

to provide a status report on his state habeas corpus proceeding. 6

After Hinton advised the court that his state habeas application
                                                                              7
had     been   pending      for   two      years   with     no    activity,       the      court

requested an answer from the respondent. 8                        Noting that the state

courts are actively litigating Hinton's pending application for

relief under Article 11.07,                 the respondent now moves to either

continue       the   stay     and     administratively            close   the       case     or,

alternatively,       dismiss        the    case    without       prejudice    for    lack of
                9
exhaustion.


                                     II.    Discussion

        Under the governing federal                habeas    corpus statutes,              " [a] n

application for a writ of habeas corpus on behalf of a person in


4
    Petition, Docket Entry No. 1, pp. 10, 13-19.
5
    0rder to Stay, Docket Entry No. 4.
6
    0rder, Docket Entry No. 5, p. 2.
7
    Reply to Court's Order, Docket Entry No. 8, pp. 1-2.
8
    0rder for an Answer, Docket Entry No. 9.
9
    Respondent's Motion, Docket Entry No. 18, pp. 1-2, 6.

                                             -4-
       Case 4:16-cv-01054 Document 19 Filed on 10/19/18 in TXSD Page 5 of 8



custody pursuant to the judgment of a State court shall not be

granted unless it appears that                        the applicant has exhausted

the remedies available in the                   courts of   the State."       2 8 U.S. C.

§     2254(b) (1) (A)     Thus, a petitioner "must exhaust all available

state      remedies      before    he    may     obtain   federal   habeas      [corpus]

relief."       Sones v. Hargett, 61 F.3d 410, 414 (5th Cir. 1995).                    The

exhaustion       requirement       "is   not     jurisdictional,    but   reflects      a

policy of       federal-state        comity designed        to   give   the   State    an

initial opportunity to pass upon and correct alleged violations of

its prisoners' federal rights."                 Moore v. Quarterman, 454 F.3d 484,

490-91 (5th Cir. 2006)            (quoting Anderson v. Johnson, 338 F.3d 382,

386 (5th Cir. 2003)          (internal citations and quotations omitted)).

Exceptions exist only where there is an absence of available State

corrective process or circumstances exist that render such process

ineffective to protect the rights of the applicant.                     See 28 U.S.C.

§    2254 {b) (1) (B).

         Hinton's state habeas application remains pending before the

trial court, and the Texas Court of Criminal Appeals has not yet

had an opportunity to address the issues raised in the pending

petition.        The court takes judicial notice of records from the

Harris County District Clerk's Office,                    which are referenced in
                            10
Respondent's Motion,             confirming that Hinton's state habeas corpus

application is under active consideration by the trial court, which


10
     Respondent's Motion, Docket Entry No. 18, pp. 1-2, 5.

                                               -5-
      Case 4:16-cv-01054 Document 19 Filed on 10/19/18 in TXSD Page 6 of 8



has    issued   several     orders     in    the    past     few     months    to   obtain

affidavits      from Hinton's        attorneys      and others        involved in his

criminal case. 11      Because the record does not disclose "inordinate

delay"    that is     "wholly and completely the fault of the state,"

exhaustion cannot be excused.           Deters v. Collins, 985 F.2d 789, 796

(5th Cir. 1993)       (citations omitted).            Under these circumstances,

comity requires this court to defer until after the state courts

have     completed    review    of    the    petitioner's       claims,       which   will

necessarily depend on           fact-finding        by the     state    habeas      corpus

court.

       Although the respondent proposes a stay, this case has been

stayed already and has been pending on the court's active docket

for over two years.            The Supreme Court has               commented that an

unexhausted habeas petition "should not be stayed indefinitely."

Rhines v.    Weber,    125 S.    Ct.    1528,      1535    (2005).     Mindful of the

statute of limitations,          the court will dismiss the case without

prejudice to the petitioner seeking reinstatement in the event that

the Texas Court of Criminal Appeals issues an adverse decision on

his pending state application.


                     III.   Certificate of Appealability

       Rule 11 of the Rules Governing Section 2254 Cases requires a

district court to issue or deny a certificate of appealability when


11
 See Office of the Harris County District Clerk, located at:
http://www.hcdistrictclerk.com (last visited Oct. 18, 2018).

                                            -6-
    Case 4:16-cv-01054 Document 19 Filed on 10/19/18 in TXSD Page 7 of 8



entering a       final    order that    is adverse        to the petitioner.            A

certificate of appealability will not issue unless the petitioner

shows that "jurists of reason could disagree with the [reviewing]

court's resolution of his constitutional claims or that jurists

could     conclude   the     issues    presented      are    adequate       to   deserve

encouragement to proceed further."                Buck v. Davis, 137 S. Ct. 759,

773 (2017)    (citation and internal quotation marks omitted).                      Where

denial of relief is based on procedural grounds,                      the petitioner

must show not only that "jurists of reason would find it debatable

whether the petition states             a    valid claim of         the denial of a

constitutional right," but also that they "would find it debatable

whether the district court was correct in its procedural ruling."

Slack v. McDaniel, 120 S. Ct. 1595, 1604 (2000).

     A district court may deny a certificate of appealability, sua

sponte,    without       requiring    further     briefing     or   argument.         See

Alexander v.      Johnson,       211 F.3d 895,      898     (5th Cir.      2000).     For

reasons    set   forth above,        this    court concludes        that    jurists of

reason would not debate whether any procedural ruling in this case

was correct.       Therefore, a certificate of appealability will not

issue.


                           IV.    Conclusion and Order

     Based on the foregoing, the court ORDERS as follows:

     1.      Respondent's Motion to Stay and Administratively
             Close the Proceedings is DENIED, but the Motion to
             Dismiss the Petition as Unexhausted is GRANTED

                                            -7-
   Case 4:16-cv-01054 Document 19 Filed on 10/19/18 in TXSD Page 8 of 8



          without prejudice for       lack of exhaustion      (Docket
          Entry No. 18).

     2.   Walter Hinton, Jr.'s, Petition for a Writ of Habeas
          Corpus By a Person in State Custody (Docket Entry
          No. 1) is DISMISSED without prejudice for lack of
          exhaustion.

     3.   To proceed with his claims for federal relief
          Hinton is directed to file a written "Motion to
          Reinstate" this case no later than thirty (30) days
          after the Texas Court of Criminal Appeals issues an
          adverse decision on his pending state court habeas
          corpus   application   in   Harris   County   Cause
          No. 1316867. The court will then reopen this case
          and issue a new briefing schedule.

     4.   A certificate of appealability is DENIED.

     The Clerk shall provide a copy of this Memorandum Opinion and

Order to the parties.

     SIGNED at Houston, Texas, on this 19th day of October, 2018.




                                          UNITED STATES DISTRICT JUDGE




                                   -8-
